                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION–FLINT



In re:                                                       Case No. 10-34091

GINA PAPIA RENDER,                                           Chapter 7

            Debtor.                                          Honorable Daniel S. Opperman
_________________________________________/
TOMMEE E. RENDER, JR.,

                Plaintiff,

vs.                                                          Adv. Proc. No. 11-3414

GINA PAPIA RENDER,

            Defendant.
_________________________________________/

          OPINION REGARDING PLAINTIFF’S MOTION TO AMEND COMPLAINT
         (DOCKET #16) AND PLAINTIFF’S MOTION FOR RECONSIDERATION/FOR
           RELIEF FROM JANUARY 3, 2012, ORDER DISMISSING PLAINTIFF’S
                    COMPLAINT WITH PREJUDICE (DOCKET #24)

         Plaintiff filed a Motion for Reconsideration of this Court’s January 3, 2012, Order

Dismissing the Plaintiff’s Complaint with Prejudice (“Reconsideration Motion”). After the

January 3, 2012, Order was entered, this case was immediately closed the same day. This case

was later reopened on January 17, 2012, upon the Ex Parte Motion of Plaintiff to Reopen this

case for the purpose of allowing the instant Motions to Amend Complaint and for

Reconsideration. At the time this case was dismissed, a Motion to Amend Complaint filed by

Plaintiff to add Capital Recovery IV, LLC as a plaintiff was pending and remained undecided at

the time of dismissal.


                                                 1



   11-03414-dof       Doc 34    Filed 08/10/12       Entered 08/10/12 12:01:06      Page 1 of 4
                                    Motion for Reconsideration

       Pursuant to E.D. Mich. LBR 9024-1(a), a motion for reconsideration may be filed within

fourteen (14) days after the order to which it objects is issued, and should be granted if the

movant demonstrates that the Court and the parties have been misled by a palpable defect and

that a different disposition of the case must result from a correction of such palpable defect. A

motion for reconsideration that merely presents the same issues already ruled upon by the Court,

either expressly or by reasonable implication, shall not be granted.

       Plaintiff asserts that the Court should not have closed this adversary proceeding as a

result of the January 3, 2012, Order of Dismissal; but rather, this case was intended by the Court

and the parties to remain open and for this Court to specifically address the pending Motion to

Amend and the issue of the proper party(ies) in interest to pursue this revocation of discharge

action. The Court reviewed the record in this case, specifically the December 21, 2011, hearing,

and has determined that the Court did specifically reserve the issue of the pending Motion to

Amend. The Court first concludes that the Reconsideration Motion should be granted because

the January 3, 2012, Order of Dismissal was intended to reserve the issues of Plaintiff’s standing

and whether Plaintiff may amend his Complaint to add Capital Recovery IV, LLC to this action.




                                                 2



  11-03414-dof       Doc 34     Filed 08/10/12       Entered 08/10/12 12:01:06       Page 2 of 4
                                   Motion To Amend Complaint

       The Sixth Circuit case of Miller v. American Heavy Lift Shipping, et al., 231 F.3d 242

(6th Cir. 2000), supports the conclusion that leave to amend should be generally granted and that

the second amended complaint should be deemed to relate back pursuant to Rule 15(c)(2). The

Miller Court noted that "whether a statute of limitations will be permitted to bar an amended

claim turns on whether the amended claim arose out of the same conduct, transaction, or

occurrence as that set forth in the original complaint." Keeping in mind Miller's statement that

"the thrust of Rule 15 is to reinforce the principle that cases 'should be tried on their merits rather

than the technicalities of pleadings," and a court "will permit a party to add even a new legal

theory in an amended pleading so long as it arises out of the same transaction or occurrence." Id.

at 248, these motions are routinely granted.

       The Court concludes that, under the circumstances, Plaintiff’s Motion to Amend

Complaint could be granted and could be deemed to relate back to the date of the original

complaint filing pursuant to Rule 15(c)(1), because the actions alleged, which Plaintiff asserts

provide grounds to revoke Defendant’s discharge pursuant to 11 U.S.C. § 727(d)(1), appear to be

the same identical actions alleged in Plaintiff’s original complaint. The Court notes that the

Motion To Amend was filed on December 13, 2011, and was pending at the time the Court heard

arguments on the Motion To Dismiss and prior to entry of the January 3, 2012, Order granting

the Motion To Dismiss. The only change to Plaintiff’s Amended Complaint is the addition of a

party plaintiff, Capital Recovery IV, LLC. Thus, Rule 15, made applicable to this adversary


                                                  3



  11-03414-dof       Doc 34     Filed 08/10/12        Entered 08/10/12 12:01:06       Page 3 of 4
proceeding by Federal Rule of Bankruptcy Procedure 7015, may very well be satisfied, but

because this case was dismissed prior to expiration of the response period on the Motion To

Dismiss, the Court deems it appropriate to allow Defendant the opportunity to file a formal

response to that Motion.



Not for publication
                                                .



Signed on August 10, 2012
                                                        /s/ Daniel S. Opperman
                                                      Daniel S. Opperman
                                                      United States Bankruptcy Judge




                                                4



  11-03414-dof      Doc 34     Filed 08/10/12       Entered 08/10/12 12:01:06    Page 4 of 4
